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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO
                                 Judge Raymond P. Moore

  Civil Action No. 13-cv-02469-RM-MJW

  RANDALL J. HATLEE, and
  RONALD L. SWIFT,

  Plaintiffs,

  v.

  CINDY HARDEY,
  BOBBI PRIESTLY,
  MONTE GORE,
  FRED WEGENER, and
  ASHLEIGH OLDS,
  Defendants.
  ______________________________________________________________________________

                        ORDER SETTING CASE FOR TRIAL
  ______________________________________________________________________________

          This matter has been scheduled for a 10-day jury trial on the docket of Judge Raymond P.

  Moore in the U.S. District Court, Courtroom A601, 6th Floor, 901 19th Street, Denver, Colorado to

  commence on February 1, 2016 at 9:00 a.m. On the first day of trial to a jury, counsel are

  expected to be present at 8:30 a.m. to go over any final matters before the commencement of trial.

          A Trial Preparation Conference is set for Wednesday, January 6, 2016 at 9:00 a.m.

  Counsel who will try the case shall attend in person.

          In the absence of a previously-imposed deadline, all motions to exclude expert testimony

  must be filed sixty days before the trial preparation conference.

          Fourteen days before the trial preparation conference, counsel and any pro se party shall

  submit proposed jury instructions and verdict forms. The jury instructions shall identify the
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  source of the instruction and supporting authority, e.g., ' 103, Fed. Jury Practice, O=Malley,

  Grenig, and Lee (5th ed.). The parties shall submit their instructions and verdict forms both via

  CM/ECF and by electronic mail to: Moore_Chambers@cod.uscourts.gov in Word Perfect

  format (Word Perfect 12 or a later version) or Word format. Verdict forms shall be submitted in a

  separate file from jury instructions. Within the jury instruction file, each jury instruction shall

  begin on a new page.

         Each instruction should be numbered (e.g., “Plaintiff=s Instruction No. 1”) for purposes of

  making a record at the jury instruction conference. The parties shall attempt to stipulate to the

  jury instructions, particularly “stock” instructions and verdict forms.

         In diversity cases where Colorado law applies, please submit instructions and verdict forms

  that conform to CJI-Civ 4th.

         Seven days before the trial preparation conference, the parties shall file via CM/ECF (1)

  their proposed voir dire questions; (2) their witness lists; and (3) their exhibit lists. Forms of the

  witness and exhibit lists are found at http://www.cod.uscourts.gov/Judges/Judges.aspx. Please

  add at least ten additional blank rows at the end of the exhibit list to accommodate any additional

  exhibits that may be introduced at trial.

         To the extent the deadlines and other provisions of this order conflict with this Court=s

  Practice Standards, this order shall control.

         The parties shall be prepared to address the following issues at the Trial Preparation

  Conference:

         1)      jury selection;


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        2)    sequestration of witnesses;

        3)    timing of presentation of witnesses and evidence;

        4)    anticipated evidentiary issues;

        5)    any stipulation as to fact; and

        6)    any other issues affecting the duration or course of the trial.

        DATED this 31st day of March, 2015.

                                                BY THE COURT:



                                                ________________________________________
                                                RAYMOND P. MOORE
                                                United States District Judge




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